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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


MARION KILER,

                 Plaintiff,                                           No.: 1:19-cv-2073

                         v.                                           Judge Edmond E. Chang

MONTPARNASSE 56 CHICAGO, LLC,

                 Defendant.



                              JOINT MOTION TO STAY PROCEEDINGS

         Plaintiff, Marion Kiler, by and through her attorney, C.K. Lee of Lee Litigation Group,

PLLC, hereby moves this Court to stay proceedings and adjourn all dates and deadlines, sine die,

including, but not limited to, the answer due July 24, 2019 and the status hearing currently

scheduled for August 6, 2019 at 9:00 a.m, with leave to file a stipulation of dismissal in thirty (30)

days.

         In support, Plaintiff states as follows:

                 On March 26, 2019, Plaintiff filed a Complaint against Defendant (Docket No. 1).

                 On June 21, 2019, Defendant’s counsel, William Pokorny, filed a Joint Motion for

Continuance of June 26, 2019 Status Hearing and Extension of Time to Answer Complaint

(Docket No. 15).

                 On June 25, 2019, this Court Ordered that Defendant’s answer was due July 24,

2019 and the status hearing was reset to August 6, 2019 at 9:00 a.m.

                 As of today’s date, the parties have reached a settlement in principle and seek

additional time to finalize the settlement documents.
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               Defendant joins in Plaintiff’s request to stay proceedings and adjourn all dates and

deadlines, sine die.



       WHEREFORE, Plaintiff, Marion Kiler, by and through her attorney, C.K. Lee of Lee

Litigation Group, PLLC, respectfully requests that the Court stay proceedings and adjourn all dates

and deadlines, sine die, including, but not limited to, the answer due July 24, 2019 and the status

hearing currently scheduled for August 6, 2019 at 9:00 a.m., with leave to file a stipulation of

dismissal in thirty (30) days.



Dated: July 17, 2019

                                             Respectfully submitted,




                                             By:      /s/ C.K. Lee
                                                     C.K. Lee, Esq.

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                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that he filed the foregoing JOINT MOTION

TO STAY PROCEEDINGS with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the following counsel of record on this 17th day of July, 2019.



                                          William R. Pokorny
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                                                                            /s/ C.K. Lee
                                                                     C.K. Lee, Esq.




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